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15                                                  Attorneys for Sonos, Inc.

16
                                  UNITED STATES DISTRICT COURT
17
                                 NORTHERN DISTRICT OF CALIFORNIA
18
                                     SAN FRANCISCO DIVISION
19

20
     SONOS, INC.,                                   Case No. 3:20-cv-06754-WHA
21                                                  Consolidated with Case No. 3:21-cv-07559-
                    Plaintiff,                      WHA
22
            vs.                                     STIPULATED REQUEST FOR ORDER
23
                                                    EXTENDING THE MOTION FOR
24   GOOGLE LLC,                                    ATTORNEYS’ FEES DEADLINE

25                  Defendant.
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                                                                  Case No. 3:20-cv-06754-WHA
              STIPULATED REQUEST FOR ORDER EXTENDING THE MOTION FOR ATTORNEYS’ FEES DEADLINE
     Case 3:20-cv-06754-WHA            Document 873        Filed 10/26/23      Page 2 of 5




 1          Pursuant to Federal Rule of Civil Procedure 54(d) and Civil Local Rule 6-2, Google LLC

 2 (“Google”) and Sonos, Inc. (“Sonos”) (collectively, “Parties”) jointly stipulate and request an order

 3 extending the deadline for motions for attorneys’ fees to thirty (30) days after the conclusion of all

 4 appellate review, including resolution of any petitions for panel rehearing or rehearing en banc by

 5 the Court of Appeals for the Federal Circuit and/or petitions for a writ of certiorari from the United
 6 States Supreme Court.

 7          WHEREAS, the Court entered judgment “in favor of Google LLC and against Sonos, Inc.”

 8 in Sonos, Inc. v. Google LLC (No. 3:21-cv-07559-WHA) (“Transferred Action”) on October 10,
 9 2023 (Transferred Action, Dkt. 275);

10          WHEREAS, the Court entered “declaratory relief . . . in favor of Google LLC and against

11 Sonos, Inc. that: (1) United States Patent Nos. 10,848,885 and 10,469,966 are unenforceable due to

12 prosecution laches, and (2) United States Patent Nos. 10,848,885 and 10,469,966 are invalid as

13 anticipated by the accused products as measured by the adjusted priority date on account of new

14 matter having been inserted into the specification” in Sonos, Inc. v. Google LLC (No. 3:20-cv-

15 06754-WHA) (“Declaratory Judgment Action”) on October 10, 2023 (Declaratory Judgment

16 Action, Dkt. 869);

17          WHEREAS, Sonos filed a notice of appeal to the Federal Circuit on October 17, 2023

18 (Declaratory Judgment Action, Dkt. 870);

19          WHEREAS, the Court granted Google’s unopposed administrative motion to extend the

20 deadline for its motion for attorneys’ fees pursuant to 28 U.S.C. § 285 and bill of costs and “invite[d]
21 a stipulation that any fees motion will be made only after all appellate review is exhausted” on

22 October 21, 2023 (Declaratory Judgment Action, Dkt. 872);

23          THE PARTIES HEREBY STIPULATE, AGREE, AND REQUEST, that the Court extend
24 the deadline for motions for attorneys’ fees to thirty (30) days after the conclusion of all appellate

25 review, including resolution of any petitions for panel rehearing or rehearing en banc by the Court

26 of Appeals for the Federal Circuit and/or petitions for a writ of certiorari from the United States

27 Supreme Court.

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                                                       1            Case No. 3:20-cv-06754-WHA
                STIPULATED REQUEST FOR ORDER EXTENDING THE MOTION FOR ATTORNEYS’ FEES DEADLINE
     Case 3:20-cv-06754-WHA         Document 873        Filed 10/26/23     Page 3 of 5




1          The Parties submit the accompanying declaration of Lindsay Cooper in support hereof and

2 respectfully request that the Court enter the attached proposed order.

3          IT IS SO STIPULATED.

4    Dated: October 26, 2023                              Respectfully submitted,

5    /s/ Sean Pak                                         /s/ Clement Roberts
     Attorneys for GOOGLE LLC                             Attorneys for SONOS, INC.
6
     QUINN EMANUEL URQUHART &                             ORRICK, HERRINGTON & SUTCLIFFE
7    SULLIVAN, LLP                                        LLP

8    Counsel for Google LLC                               Counsel for Sonos, Inc.
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                                                    2             Case No. 3:20-cv-06754-WHA
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     Case 3:20-cv-06754-WHA         Document 873       Filed 10/26/23     Page 4 of 5




1                                        ECF ATTESTATION

2          I, Sean Pak, am the ECF User whose ID and password are being used to file this Joint

3 Stipulation. In compliance with Civil Local Rule 5-1, I hereby attest that Clement Roberts, counsel

4 for Sonos, has concurred in this filing.

5    Dated: October 26, 2023

6                                                         By:     /s/ Sean Pak
                                                                  Sean Pak
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                                                   3              Case No. 3:20-cv-06754-WHA
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     Case 3:20-cv-06754-WHA    Document 873      Filed 10/26/23    Page 5 of 5




1                                  [PROPOSED] ORDER

2         PURSUANT TO STIPULATION, IT IS SO ORDERED.

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5 DATED: ___________________, 2023 By:
                                                 Hon. William Alsup
6                                                United States District Judge
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                                             4                  Case No. 3:20-cv-06754-WHA
            STIPULATED REQUEST FOR ORDER EXTENDING THE MOTION FOR ATTORNEYS’ FEES DEADLINE
